             Case 1:10-bk-12928              Doc 46 Filed 04/14/12 Entered 04/15/12 00:37:48                               Desc
                                           Imaged Certificate of Notice Page 1 of 3
                                                United States Bankruptcy Court
                                                  District of Rhode Island
 In re:                                                                                                     Case No. 10-12928-anv
 Yovany Padilla                                                                                             Chapter 7
          Debtor
                                                  CERTIFICATE OF NOTICE
 District/off: 0103-1                  User: jen                          Page 1 of 2                          Date Rcvd: Apr 12, 2012
                                       Form ID: 144c                      Total Noticed: 4


 Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
 Apr 14, 2012.
 db            +Yovany Padilla,   132 Hendricks Street,   Central Falls, RI 02863-1628
 assignor      +FIA Card Services, N.A.,   655 Papermill Road,   Newark, DE 19711-7500
 assignee    ++PORTFOLIO RECOVERY ASSOCIATES LLC,    PO BOX 41067,    NORFOLK VA 23541-1067
               (address filed with court: Portfolio Recovery Associates LLC,     P O BOX 41067,
                 Norfolk, VA 23541)
 cr            +PRA Receivables Management LLC,   PO Box 41067,    Norfolk, VA 23541-1067

 Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
 NONE.                                                                                       TOTAL: 0

               ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
 cr*            ++PORTFOLIO RECOVERY ASSOCIATES LLC,   PO BOX 41067,   NORFOLK VA 23541-1067
                 (address filed with court: Portfolio Recovery Associates, LLC,    PO Box 41067,
                   Norfolk, VA 23541)
                                                                                                                     TOTALS: 0, * 1, ## 0

 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.

 Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
 pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Apr 14, 2012                                       Signature:
         Case 1:10-bk-12928        Doc 46 Filed 04/14/12 Entered 04/15/12 00:37:48              Desc
                                 Imaged Certificate of Notice Page 2 of 3


District/off: 0103-1         User: jen                   Page 2 of 2                  Date Rcvd: Apr 12, 2012
                             Form ID: 144c               Total Noticed: 4


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on April 12, 2012 at the address(es) listed below:
              Elizabeth A. Lonardo   on behalf of Creditor PNC Bank, N.A elonardo@smsllaw.com,
               jreed@smsllaw.com;erodrigues@smsllaw.com
              Gary L. Donahue   ustpregion01.pr.ecf@usdoj.gov
              Jacqueline M. Grasso   on behalf of Debtor Yovany Padilla grassolaw@aol.com,
               jgrasso@abcglawfirm.com;lmartelly@abcglawfirm.com;nneis@abcglawfirm.com
              John Boyajian    john@bhrlaw.com, martha@bhrlaw.com
              John B. Ennis   on behalf of Debtor Yovany Padilla jbelaw@aol.com, jbennisattorney@aol.com
              Lisa A. Geremia   lisa@geremiademarco.com, RI03@ecfcbis.com
                                                                                            TOTAL: 6
                  Case 1:10-bk-12928             Doc 46 Filed 04/14/12 Entered 04/15/12 00:37:48                        Desc
                                               Imaged Certificate of Notice Page 3 of 3
                                        UNITED STATES BANKRUPTCY COURT
                                             DISTRICT OF RHODE ISLAND
_____________________________________________________________________________________________________________________
           In Re: Yovany Padilla                                        BK No. 1:10−bk−12928
           Debtor(s)                                                    Chapter 7
_____________________________________________________________________________________________________________________

                                            ORDER SETTING POST CONVERSION DEADLINES

           The above referenced case was converted to chapter 7 on 4/12/2012 .

                        1. Pursuant to LBR 1007−1(c), please be advised that the debtor is required to file the following
                       documents within fourteen (14) days of the date of conversion, no later than 4/26/2012 :

                                                           ♦      Chapter 13 Plan
                                                           ♦     RI Local Bankr. Form V
                                                           ♦     Form 22A
                                                           ♦      Form 22B
                                                           ♦     Form 22C
                                                           ♦     20 Largest Creditor List
                                                           ♦     Exhibit A (corp. only)


                        2. Further, pursuant to Fed. R. Bankr.P. 1019(5)(A) and (B), the debtor in the superseded chapter
                       13 case or the debtor in possession/trustee in a superseded chapter 11 or 12 case, is hereby
                       ORDERED to file with the court, with a copy to the local Office of the U.S. Trustee, a Schedule of
                       Post−Petition Debts and a creditor list of the new post−petition creditors only, no later than
                       4/26/2012 , (14 days from order of conversion). Said schedule shall list all unpaid debts incurred
                       after the commencement of the prior chapter case and shall include a creditor list containing the
                       name and address of each creditor.
                       3. Pursuant to Fed. R. Bankr. P. 1019(5)(A) and (B), the trustee/debtor in possession in the
                       superseded chapter 11,12 or 13 case, is hereby ORDERED to file with the court, with a copy to the
                       local Office of the U.S. Trustee, a final report and account no later than 5/14/2012 (30 days
                       from order of conversion).
           Failure to timely file all of the above required documents by the specified deadlines will result in the
           automatic issuance of an order to show cause why the case should not be dismissed and/or monetary
           sanctions imposed, as appropriate.
                                                                  So Ordered:

           Entered on Docket: 4/12/12
           Document Number: 44
           144c.jsp




                                                                          Date: 4/12/12




          ______________________________________________________________________________________________

                      The Federal Center · 380 Westminster Street, 6th Floor · Providence, RI 02903 · Tel: (401) 626−3100

                                                         Website: www.rib.uscourts.gov
